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                                                                      March 11, 2024


VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                      Re:    Carroll v. Trump, 20 Civ. 7311 (LAK)

Dear Judge Kaplan:

       We write on behalf of Plaintiff E. Jean Carroll pursuant to the Court’s order dated March
8, 2024. See ECF 319.

        While we did have one limited objection concerning the timing of payment to the bond that
Defendant has posted in connection with his motion to stay enforcement of the judgment pending
appeal, the parties have discussed the issue. As a result of those discussions, Federal Insurance
Company has authorized and Defendant’s counsel will agree to stipulate that the 30-day periods
listed on page 3 of ECF Doc. 318-1 will be shortened to 15 days, both for the Principal and the
Surety. This will have the effect of shortening the overall window to 30 days.

       Depending on the Court’s preference, Your Honor can so order this letter, or the parties
can submit a stipulation or other appropriate documentation to effectuate this change.

                                                                      Respectfully submitted,



                                                                      Roberta A. Kaplan

cc:    Counsel of Record
